                 Case 2:08-cr-00263-TLN Document 55 Filed 11/26/08 Page 1 of 2


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 8                                 UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,
12                  Plaintiff,                              No. CR -S-08-0263 FCD
13          v.
14   CHARLES BARKSDALE, et. al.,                            RELATED CASE ORDER
15               Defendants.
     ________________________________/
16
     UNITED STATES OF AMERICA,
17
                    Plaintiff,                              No. CR S-08-0405           EJG
18
            v.
19
     LAKEISHA PEARSON,
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                 Defendant.
21   ________________________________/
22          Examination of the above-entitled actions reveals that they are related within the meaning
23   of Local Rule 83-123(a) (E.D. Cal. 1997). The actions involve are based on the same or similar
24   claims, the same property transaction or event, similar questions of fact and the same questions
25   of law, and would therefore entail a substantial duplication of labor if heard by different judges.
26   Accordingly, the assignment of the matters to the same judge is likely to effect a substantial
27   savings of judicial effort and is also likely to be convenient for the parties.
28   ///
               Case 2:08-cr-00263-TLN Document 55 Filed 11/26/08 Page 2 of 2


 1          The parties should be aware that relating the cases under Local Rule 83-123 merely has
 2   the result that these actions are assigned to the same judge; no consolidation of the actions is
 3   effected. Under the regular practice of this court, related cases are generally assigned to the
 4   judge and magistrate judge to whom the first filed action was assigned.
 5          IT IS THEREFORE ORDERED that the action denominated, CR. S-08-0405 is
 6   reassigned to Judge Frank C. Damrell, Jr. for all further proceedings, and any dates currently set
 7   in the reassigned case only are hereby VACATED. Henceforth, the caption on documents filed
 8   in the reassigned cases shall be shown as, CR. S-08-0405 FCD.
 9          IT IS FURTHER ORDERED that the Clerk of Court make appropriate adjustment in the
10   assignment of criminal cases to compensate for this reassignment.
11          IT IS SO ORDERED.
12   DATED: November 25, 2008
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                                                     _______________________________________
14                                                   FRANK C. DAMRELL, JR.
                                                     UNITED STATES DISTRICT JUDGE
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